Case 4:20-cv-02845 Document 1-2 Filed on 08/14/20 in TXSD Page 1 of 5             8/13/2020 11:29 AM
                                                        Marilyn Burgess - District Clerk Harris County
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                                                                                      By: Bonnie Lugo
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Case 4:20-cv-02845 Document 1-2 Filed on 08/14/20 in TXSD Page 2 of 5
Case 4:20-cv-02845 Document 1-2 Filed on 08/14/20 in TXSD Page 3 of 5
Case 4:20-cv-02845 Document 1-2 Filed on 08/14/20 in TXSD Page 4 of 5
Case 4:20-cv-02845 Document 1-2 Filed on 08/14/20 in TXSD Page 5 of 5
